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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS
                               (Kansas City Docket)


UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )       CASE NO.      20-20042-01-DDC-TJJ
       v.                                )
                                         )
TRAVIS BRONSON                           )
                                         )
                     Defendant.          )


                                      INDICTMENT

       The Grand Jury charges that:

                                       COUNT 1

       On or about November 15, 2017, in the District of Kansas, the defendant,

                                  TRAVIS BRONSON,

did knowingly distribute, in interstate and foreign commerce, by means of a computer,

visual depictions of minors, the production of which involved the use of minors engaging

in sexually explicit conduct, and the visual depictions were of such conduct, in that the

defendant ran a publicly available peer-to-peer software that offered to share images of

child pornography via the Internet, in violation of Title 18, United States Code, Section

2252(a)(2).

                                       COUNT 2

       On or about February 1, 2018, in the District of Kansas, the defendant,



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                                    TRAVIS BRONSON,

did knowingly and intentionally possess one or more materials which contained visual

depictions of minors, the production of which involved the use of minors engaging in

sexually explicit conduct, and the visual depictions were of such conduct that had been

mailed, shipped, and transported by any means including computer, in interstate or

foreign commerce, in violation of Title 18, United States Code, Section 2252(a)(4)(B).

                                FORFEITURE ALLEGATION

       The allegations contained in Counts 1 and 2 of this Indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant

to Title 18, United States Code, Section 2253.

       Upon conviction of the offenses identified in Counts 1 and 2, the defendant,

                            TRAVIS BRONSON,

shall forfeit to the United States of America, pursuant to 18 U.S.C. Section 2253(a), any

and all property used or intended to be used in any manner or part to commit or to

promote the commission of such offenses or any property traceable to such property,

including but not limited to:

       1. Macbook Pro Serial Number C02L24AZFFT1
       2. Western Digital Hard Drive Serial Number WX31E1398333
       3. Western Digital Hard Drive Serial Number WX51AZ0N4015

       All pursuant to Title 18, United States Code, Section 2253(a).



                                                 A TRUE BILL.




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Dated: July 1, 2020                              /s/ Foreperson
                                                 FOREPERSON


s/ Kim I. Flannigan, KS Bar. No. 13407 for
STEPHEN R. MCALLISTER
United States Attorney
500 State Avenue, Suite 360
Kansas City, Kansas 66101
Stephen.McAllister@usdoj.gov
(913) 551-6730
(913) 551-6541 (fax)
Ks. S. Ct. No. 15845

(It is rquested that trial of the above captioned case be held in Kansas City, Kansas.)




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                                      PENALTIES:


Count 1       18 U.S.C. ' 2252(a)(2) - Distribution of Child Pornography

      #       NLT 5 years NMT 20 years incarceration;
      #       $250,000.00 Fine;
      #       NLT 5 years and NMT life SR; and
      #       $100.00 Special Assessment Fee

If the defendant has a prior conviction relating to aggravated sexual abuse, sexual abuse,
or abusive sexual conduct involving a minor or a ward:

      #       NLT 15 years and NMT 20 years incarceration;
      #       $250,000.00 Fine;
      #       NLT 5 years and NMT life SR; and
      #       $100.00 Special Assessment Fee

Count 2       18 U.S.C. ' 2252(a)(4)(B) - Possession of Child Pornography

      #       NMT 10 years incarceration;
      #       $250,000.00 Fine;
      #       NLT 5 years and NMT life SR; and
      #       $100.00 Special Assessment Fee


If any visual depiction involved a prepubescent minor or a minor who had not attained
the age of 12 years of age:

          #   NMT 20 years incarceration;
          #   NMT 250,000 fine;
          #   NLT 5 years and NMT life SR; and
          #   $100 Special Assessment


If the defendant has a prior conviction relating to aggravated sexual abuse, sexual abuse,
or abusive sexual conduct involving a minor or a ward:

      #       NLT 10 years and NMT 20 years incarceration;
      #       $250,000.00 Fine;
      #       NLT 5 years and NMT life SR; and
      #       $100.00 Special Assessment Fee


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